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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Crazy Aaron Enterprises, Inc.                )
                                             )
v.                                           )      Case No. 19-cv-0025
                                             )
THE PARTNERSHIPS and                         )      Judge: Hon. Charles R. Norgle
UNINCORPORATED ASSOCIATIONS                  )
IDENTIFIED ON SCHEDULE “A,”                  )      Magistrate: Hon. Jeffrey T. Gilbert
                                             )
                                             )
                                             )


                MEMORANDUM IN SUPPORT OF PLAINTIFF’S
          MOTION FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT

       Plaintiff Crazy Aaron Enterprises submits the following memorandum in support of their

Motion for Entry of Default and Default Judgment under Fed. R. Civ. P. 55 against the

Defendant Does, as identified on Schedule A of the Complaint (collectively, the "Defendants"),

who have not been dismissed, in their action for trademark infringement, counterfeiting, false

designation of origin, and violation of the Illinois Uniform Deceptive Trade Practices Act.

                                  STATEMENT OF FACTS

       Crazy Aaron Enterprises, Inc. is a United States based manufacturer of kitchen gadgets

and cooking products. Some of Crazy Aaron’s best-selling items are the THINKING PUTTY,

CRAZY AARON’S THINKING PUTTY, LIQUID GLASS, and STRANGE ATTRACTOR

putty based children’s toys that encourage creative thinking and play. THINKING PUTTY,

CRAZY AARON’S THINKING PUTTY, LIQUID GLASS, and STRANGE ATTRACTOR

products encourage children to experiment and learn about physics while having fun.

       Crazy Aaron Enterprises, Inc. holds U.S. Registration (U.S. Reg. Nos. 4294844,

4294845, 5141808, 5141809) for the THINKING PUTTY, CRAZY AARON’S THINKING
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PUTTY, LIQUID GLASS, and STRANGE ATTRACTOR marks which has been used

exclusively and continuously by Crazy Aaron Enterprises, Inc. since at least as early as 1998. See

Declaration of Aaron Muderick at ¶ 4. The marks are displayed prominently on Crazy Aaron

products. Crazy Aaron Enterprises, Inc. has expended considerable resources advertising,

marketing and promoting the THINKING PUTTY, CRAZY AARON’S THINKING PUTTY,

LIQUID GLASS, and STRANGE ATTRACTOR mark, and these efforts have resulted in

substantial sales of Crazy Aaron Enterprises, Inc. products, as well as invaluable consumer

goodwill. Id. at ¶ 5-6.

       The primary way in which Defendants advertise the sale of Counterfeit Products on the

infringing websites is by displaying the THINKING PUTTY, CRAZY AARON’S THINKING

PUTTY, LIQUID GLASS, and STRANGE ATTRACTOR trademarks and often stealing

Plaintiff’s original images – many of which are protected by copyright – that Plaintiff uses to

market genuine THINKING PUTTY, CRAZY AARON’S THINKING PUTTY, LIQUID

GLASS, and STRANGE ATTRACTOR Products. Muderick Decl. at ¶¶ 11-12. After reviewing

the Counterfeit Products advertised for sale on the Infringing Webstores, Plaintiff confirmed that

imitation knockoffs were being offered for sale to residents of the United States and the State of

Illinois. Id. Plaintiff also concluded that the Infringing Webstores are selling Counterfeit Product

based on a visual inspection of the products as they appear on the Infringing Websites, the price

at which the Counterfeit Products are being offered for sale, and because Defendants and the

Infringing Websites do not conduct business with Plaintiff and do not have the right or authority

to use the THINKING PUTTY, CRAZY AARON’S THINKING PUTTY, LIQUID GLASS, and

STRANGE ATTRACTOR mark or copyright images for any reason. Id. Defendants facilitate

sales of Counterfeit Products by designing the Infringing Webstore listings so that they appear to




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unknowing consumers to be authorized listings, outlet stores or wholesalers selling genuine

THINKING PUTTY, CRAZY AARON’S THINKING PUTTY, LIQUID GLASS, and

STRANGE ATTRACTOR Products and accept payment in U.S. Dollars. Id.

       Due to nature of Defendants’ illegal counterfeiting activities, monetary damages cannot

adequately compensate Plaintiff for ongoing infringement because monetary damages fail to

address the loss of control and damage to Plaintiff’s reputation and goodwill. Id at 14.

Furthermore, monetary damages are difficult, if not impossible, to ascertain due to the inability

to calculate measurable damage in dollars and cents caused to Plaintiff’s reputation and goodwill

by acts of infringement. Id. Plaintiff’s goodwill and reputation are irreparably damaged when the

THINKING PUTTY, CRAZY AARON’S THINKING PUTTY, LIQUID GLASS, and

STRANGE ATTRACTOR marks are used on goods not authorized, produced or manufactured

by the Plaintiff. Id at 17. This leads to brand confidence being damaged, resulting in loss of

future sales and market share. Id at 15. The extent of harm to Plaintiff’s reputation and goodwill

and the possible diversion of customers due to loss in brand confidence are largely

unquantifiable. Id. Defendants’ illegal use of the THINKING PUTTY, CRAZY AARON’S

THINKING PUTTY, LIQUID GLASS, and STRANGE ATTRACTOR mark further irreparably

harms Plaintiff because counterfeiters like the Defendants take away Plaintiff’s ability to control

the nature and quality of Counterfeit Products. Id at 17. Loss of quality control over goods

bearing the THINKING PUTTY, CRAZY AARON’S THINKING PUTTY, LIQUID GLASS,

and STRANGE ATTRACTOR mark and, in turn, loss of control over Plaintiff’s reputation, is

neither calculable nor precisely compensable. Id at 14-15.

       The extent to which Defendants have engaged in these tactics and the resultant instances

of trademark infringement to promote the sale of Counterfeit Products is substantial, as the total




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value of Defendants’ collective traffic to the Infringing Webstore is approximately 500,000 units

and an estimated $3,000,000 in sales. Id at 13.

       Tactics used by Defendants to conceal their identities and the full scope of their

counterfeiting operation make it virtually impossible for Plaintiff to learn Defendants’ true

identities. Based on previous cases of Webstores that unlawfully use a brand owner’s trademarks

and copyrighted images to sell counterfeit products, when any advance notice of a lawsuit or

request for injunctive relief is given to the owner or registrant of a Webstore involved in

counterfeiting, the requested relief is rendered ineffective and meaningless, because

counterfeiters operate as a proverbial “moving target,” beyond the effective reach of rights

owners, seeking to enforce their rights.

                                           ARGUMENT

                     I. Jurisdiction and Venue Are Proper in This Court

       This Court has original subject matter jurisdiction over the claims in this action pursuant

to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq., 28 U.S.C. § 1338(a)-(b) and 28

U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under the laws

of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are so

related to the federal claims that they form part of the same case or controversy and derive from

a common nucleus of operative facts. Venue is proper in this Court pursuant 28 U.S.C. § 1391,

and this Court may properly exercise personal jurisdiction over Defendants since each of the

Defendants directly targets business activities toward consumers in Illinois and causes harm to

Plaintiff’s business within this Judicial District. See Complaint at ¶¶ 27; uBID, Inc. v. GoDaddy

Grp., Inc. 623 F.3d 421, 423-24 (7th Cir. 2010) (without benefit of an evidentiary hearing,

plaintiff bears only the burden of making a prima facie case for personal jurisdiction; all of




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plaintiff's asserted facts should be accepted as true and any factual determinations should be

resolved in its favor).

        Through at least the fully interactive commercial Internet websites, each of the

Defendants has targeted sales from Illinois residents by offering shipping to Illinois and, on

information and belief, have sold Counterfeit Crazy Aaron Enterprises Products to residents of

Illinois. As such, personal jurisdiction is proper since each of the Defendants is committing

tortious acts in Illinois, is engaging in interstate commerce and has wrongfully caused Crazy

Aaron Enterprises substantial injury in the State of Illinois. See True Religion Apparel, Inc., et

al. v. Does 1-100, No. 1:12-cv-9894 (N.D. Ill. Feb. 6, 2013) (unpublished) (Docket Nos. 42 and

43); Deckers Outdoor Corp. v. Does 1-55, No. 1:11-cv-00010 (N.D. Ill. Oct. 14, 2011)

(unpublished) (Docket Nos. 68 and 69).



                  II. Plaintiff Has Met the Requirements for Entry of Default

        Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, “when a party against

whom a judgment for affirmative relief is sought has failed to plead or otherwise defend, and that

failure is shown by affidavit or otherwise, the clerk must enter the party's default.” Fed. R. Civ.

P. 55(a). On January 2, 2019, Crazy Aaron Enterprises filed its Complaint alleging federal

trademark infringement and counterfeiting, 15 U.S.C. § 1114 (Count I), unfair competition and

false designation of origin, 15 U.S.C. § 1125(a) (Count II), and violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510 (Count III). (Docket Entry 1).

        The Defendants were properly served on March 1, 2019. (Docket Entry 26). Despite

having been served with process, the Defendants have ignored these proceedings and failed to

plead or otherwise defend this action. (Gulbransen Declaration at ¶ 2). Upon information and




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belief, Defendants are not active-duty members of the U.S. armed forces. (Id. at ¶ 3).

Accordingly, Plaintiff asks for entry of default against Defendants.



           III. Plaintiff Has Met the Requirements for Entry of Default Judgment

       Rule 55(b)(2) of the Federal Rules of Civil Procedure provides for a court-ordered default

judgment. A default judgment establishes, as a matter of law, that Defendants are liable to

Plaintiff on each cause of action alleged in the complaint. United States v. Di Mucci, 879 F.2d

1488, 1497 (7th Cir. 1989). When the Court determines that a defendant is in default, the factual

allegations of the Complaint are taken as true and may not be challenged, and the defendants are

liable as a matter of law as to each cause of action alleged in the complaint. Black v. Lane, 22

F.3d 1395, 1399 (7th Cir. 1994).

       As noted above, Crazy Aaron Enterprises served Defendants on March 1, 2019. More

than 90 days have passed since Defendants were served, and no answer or other responsive

pleading has been filed. See Fed. R. Civ. P. 12(a)(1)(A). Accordingly, default judgment is

appropriate, and Plaintiff requests an award of damages as authorized by 15 U.S.C. § 1117(c)(1)

for willful trademark counterfeiting against each of the Defendants in the amount of

$1,000,000.00 per Defendant for use of counterfeit Crazy Aaron Enterprises trademarks on

products sold through each of the Defendant's websites. Plaintiff also seeks entry of a permanent

injunction prohibiting Defendants from selling Counterfeit Crazy Aaron Enterprises Products, an

Order that the domains used by Defendants to sell Counterfeit Crazy Aaron Enterprises Products

be permanently transferred to Crazy Aaron Enterprises, and that all assets in Defendants’

Amazon, PayPal, eBay, Wish, Payoneer, WorldFirst, Bill.com, Western Union, MoneyGram,

etc. accounts, as well as any newly discovered assets, be transferred to Crazy Aaron Enterprises.




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                       A. Trademark Infringement and Counterfeiting

       To properly plead a claim of trademark infringement and counterfeiting pursuant to the

Lanham Act, a plaintiff must allege that (1) its mark is distinctive enough to be worthy of

protection, (2) defendants are not authorized to use the mark; and (3) defendant’s use of the mark

causes a likelihood of confusion as to the origin or sponsorship of defendant’s products. See

Neopost Industrie B.V. v. PFE Int’l Inc., 403 F. Supp. 2d 669, 684 (N.D. Ill. 2005) (citing Bliss

Salon Day Spa v. Bliss World LLC, 268 F.3d 494, 496-97 (7th Cir. 2001)).

       CRAZY AARON ENTERPRISES alleges in its Complaint that its Marks are highly

distinctive, that Defendants have knowledge of Plaintiff’s rights in the THINKING PUTTY,

CRAZY AARON’S THINKING PUTTY, LIQUID GLASS, AND STRANGE ATTRACTOR

Trademark, that Defendants are not authorized to use the THINKING PUTTY, CRAZY

AARON’S THINKING PUTTY, LIQUID GLASS, AND STRANGE ATTRACTOR Trademark,

and that Defendants’ use of the THINKING PUTTY, CRAZY AARON’S THINKING PUTTY,

LIQUID GLASS, AND STRANGE ATTRACTOR Trademarks causes a likelihood of confusion.

Complaint at ¶¶ 33-37. Since the Defendants have failed to respond or otherwise plead in this

matter, the Court must accept the allegations contained in the Complaint as true. See Fed. R. Civ.

P. 8(b)(6); Am. Taxi Dispatch, Inc., v. Am. Metro Taxi & Limo Co., 582 F. Supp. 2d 999, 1004

(N.D. Ill. 2008). Accordingly, CRAZY AARON ENTERPRISES requests entry of judgment with

respect to Count I for willful infringement and counterfeiting of the THINKING PUTTY, CRAZY

AARON’S THINKING PUTTY, LIQUID GLASS, AND STRANGE ATTRACTOR

Trademarks.


                                B. False Designation of Origin

       A plaintiff bringing a false designation of origin claim under 15 U.S.C. § 1125(a) must



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show that: (1) defendant used a false designation of origin in connection with products; (2)

defendant’s use of the products was in interstate commerce; and (3) there is a likelihood that

consumers will be confused by defendant’s false designation of origin. Web Printing Controls Co.,

Inc. v. Oxy-Dry Corp., 906 F.2d 1202, 1204 (7th Cir. 1990).

       CRAZY AARON ENTERPRISES alleges in its Complaint that Defendants’ Counterfeit

products are of the same nature and type and look identical to genuine CRAZY AARON

ENTERPRISES products, but Defendants’ Counterfeit CRAZY AARON ENTERPRISES

products are not of the same quality as genuine CRAZY AARON ENTERPRISES products. As

such, this creates a likelihood of confusion, mistake, and deception among the general public as to

the affiliation or sponsorship of Defendants’ Counterfeit CRAZY AARON ENTERPRISES

products with genuine CRAZY AARON ENTERPRISES products. Complaint at ¶¶ 38-43.

Furthermore, by using a counterfeit of the THINKING PUTTY, CRAZY AARON’S THINKING

PUTTY, LIQUID GLASS, AND STRANGE ATTRACTOR Trademarks on the Counterfeit Crazy

Aaron Enterprises products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the Counterfeit Crazy Aaron Enterprises

products. Id. at ¶ 41. As such, Crazy Aaron Enterprises requests entry of judgment with respect to

Count II for willful false designation of origin.


                           C. Uniform Deceptive Trade Practice Act

       In Illinois, courts resolve unfair competition and deceptive trade practice claims “according

to the principles set forth in the Lanham Act.” Spex, Inc. v. Joy of Spex, Inc., 847 F. Supp. 567,

579 (N.D. Ill. 1994)infringement claims. Id. at 579 (citation omitted). The determination as to

whether there is a likelihood of confusion is similar under both the Lanham Act and the Illinois

Uniform Deceptive Trade Practice Act. Am. Broad. Co. v. Maljack Prods., Inc., 34 F. Supp. 2d



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665, 681 (N.D. Ill. 1998). , 34 F. Supp. 2d 665, 681 (N.D. Ill. 1998).

       Crazy Aaron Enterprises alleged in its Complaint that Defendants have engaged in acts

violating Illinois law including, but not limited to, passing off their products as those of Crazy

Aaron Enterprises, causing a likelihood of confusion and/or misunderstanding as to the source of

their goods, causing a likelihood of confusion and/or misunderstanding as to affiliation,

connection, or association with Crazy Aaron Enterprises products, representing that their products

have Crazy Aaron Enterprises approval when they do not, and engaging in other conduct which

creates a likelihood of confusion or misunderstanding among the public. Complaint at ¶¶ 49-54.

Crazy Aaron Enterprises, therefore, requests entry of judgment with respect to Count III of its

Complaint for willful violation of the Illinois Uniform Deceptive Trade Practices Act.

      IV. PLAINTIFF IS ENTITED TO MONETARY AND INJUNCTIVE RELIEFT

                     A. Statutory Damages Are Appropriate in this Case

       Pursuant to the statutory damages provision of the Lanham Act, 15 U.S.C. § 1117(c), a

plaintiff in a case involving the use of a counterfeit mark may elect to receive “not less than

$1,000 or more than $200,000 per counterfeit mark per type of goods or services sold, offered

for sale, or distributed, as the court considers just.” 15 U.S.C. § 1117(c)(1). When the

counterfeiting is found to be willful, 15 U.S.C. § 1117(c)(2) provides for statutory damages of up

to “$2,000,000 per counterfeit mark per type of goods or services sold, offered for sale, or

distributed, as the court considers just.” 15 U.S.C. § 1117(c)(2).

       Courts have recognized that statutory damages should be awarded without requiring an

evidentiary hearing. See Lorillard Tobacco Co. v. Montrose Wholesale Candies & Sundries, Inc.,

2008 U.S. Dist. LEXIS 31761, *11 (N.D. Ill. Apr. 17, 2008).




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                          B. Defendants’ Counterfeiting Was Willful

       As indicated in Plaintiff’s Complaint, Defendants facilitated sales by using the

THINKING PUTTY, CRAZY AARON’S THINKING PUTTY, LIQUID GLASS, AND

STRANGE ATTRACTOR mark on their website store listings, including utilization of

photographs of genuine Crazy Aaron Enterprises products. Complaint at ¶¶ 35-36, 40-41. Use of

the mark and the images make it difficult for consumers to distinguish such counterfeit products

from genuine Crazy Aaron Enterprises products.

       “Willful infringement may be attributed to the defendant’s actions where he had

knowledge that his conduct constituted infringement or where he showed a reckless disregard for

the owner’s rights.” Lorillard Tobacco Co. v. S & M Cent. Serv. Corp., 2004 LEXIS 22563, *19-

20 (N.D. Ill. Feb. 25, 2005). As such, knowledge need not be proven directly, but can be inferred

from a defendant’s conduct. Id. at 20. In the instant case, Defendants clearly had knowledge that

their activities constituted infringement or at least a reckless disregard for PLAINTIFF’s rights in

the THINKING PUTTY, CRAZY AARON’S THINKING PUTTY, LIQUID GLASS, AND

STRANGE ATTRACTOR Trademarks as demonstrated by the fact that Defendants were

directly copying Crazy Aaron Enterprises images.

       Finally, District Courts have deemed counterfeiting willful when defendants default. See

True Religion Apparel, Inc., et al. v. Does 1-100, No. 1:12-cv-9894 (N.D. Ill. Feb. 6, 2013)

(unpublished) (Docket No. 43); Oakley, Inc. v. Does 1-100, No. 1:12-cv-9864 (N.D. Ill. Jan. 30,

2013) (unpublished) (Docket No. 32).



                C. A High Statutory Damages Award Is Appropriate and Just

       Although 15 U.S.C. § 1117(c) contains the dollar range for possible statutory damage




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awards, the only guidance provided by the statute for how to determine a damage award within

the statutory dollar range is “as the court considers just.” 15 U.S.C. § 1117(c). Courts

interpreting 15 U.S.C. § 1117(c) have analogized case law applying the statutory damage

provision of the Copyright Act contained in 17 U.S.C. § 504(c). See Lorillard Tobacco Co.,

2004 U.S. Dist. LEXIS 22563, *10; Sara Lee v. Bags of New York, Inc., 36 F. Supp. 2d 161, 166

(S.D.N.Y. 1999).

       In addition, courts have awarded high damage amounts where a defendant’s

counterfeiting activities attracted wide market exposure through Internet traffic or advertisement.

See Coach, Inc. v. Ocean Point Gifts, 2010 U.S. Dist. LEXIS 59003, *15-16 (D.N.J. Jun. 14,

2010) (high damage awards in counterfeit cases were “due in part to the wide market exposure

that the Internet can provide”); Burberry Ltd. v. Designers Imports, Inc., 2010 U.S. Dist. LEXIS

3605, *28-29 (S.D.N.Y. Jan. 19, 2010) (damages amount based, in part, on “Defendant's ability

to reach a vast customer base through internet advertising”).

       In similar cases involving willful Internet-based counterfeiting, courts have awarded

significant damages, including up to the maximum provided by law, to the plaintiff to serve the

purposes of: (1) deterring the defendant and others situated like him from bringing into

commerce counterfeit goods, (2) compensating the plaintiff for damages caused by defendant’s

infringement, and (3) punishing the defendant appropriately for his counterfeiting activities. See,

e.g., Philip Morris U.S.A. Inc. v. Castworld Prods., 219 F.R.D. 494, 501 (C.D. Cal. 2003);

Oakley, Inc. v. Does 1-100, No. 1:12-cv-9864 (N.D. Ill. Jan. 30, 2013) (unpublished) (Docket

No. 32) (awarding $2,000,000 in statutory damages per defendant); Coach, Inc. v. Does 1-573,

No. 1:12-cv-1514 (N.D. Ill. Oct. 15, 2012) (unpublished) (Docket No. 27) (awarding $2,000,000

in statutory damages per defendant); Deckers Outdoor Corp. v. Does 1-1,281, No. 1:12-cv-




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01973 (N.D. Ill. June 29, 2012) (unpublished) (Docket No. 33) (awarding $2,000,000 in statutory

damages per defendant). Given the Court’s clear discretion in determining the appropriate

amount of the statutory damages award within the statutory limits of 15 U.S.C. § 1117(c), Crazy

Aaron Enterprises respectfully requests the Court’s entry of an award $100,000.00 per

Defendant.

       Additionally, the remedy imposed under the statute must provide a sufficient deterrent

effect to ensure that the guilty party will not engage in further infringing conduct. Sands, Taylor

& Wood v. Quaker Oats Co., 34 F.3d 1340, 1348 (7th Cir. 1994). For example, in Phillip Morris

USA Inc. v. Marlboro Express, the Court stated that due to “the size of the potential profit given

the quantities of [counterfeit goods] involved, and the need for a substantial deterrent to future

misconduct by defendants and other counterfeit traffickers ... plaintiff is entitled to the maximum

statutory award under 15 U.S.C. § 1117(c)(2).” 2005 U.S. Dist. LEXIS 40359, *28 (E.D.N.Y.

Aug. 26, 2005).

                     D. Plaintiff is Entitled to Permanent Injunctive Relief

       In addition to the foregoing relief, Crazy Aaron Enterprises respectfully requests entry of

a permanent injunction enjoining Defendants from infringing or otherwise violating Plaintiff’s

registered trademark rights in the THINKING PUTTY, CRAZY AARON’S THINKING

PUTTY, LIQUID GLASS, AND STRANGE ATTRACTOR Trademark, including at least all

injunctive relief previously awarded by this Court to Crazy Aaron Enterprises in the TRO and

preliminary injunction. Crazy Aaron Enterprises is also entitled to injunctive relief so it can

quickly take action against any new websites that are identified, found to be linked to

Defendants, and selling Counterfeit Crazy Aaron Enterprises products. See Oakley, Inc. v. Does

1- 100, No. 1:12-cv-9864 (N.D. Ill. Jan. 30, 2013) (unpublished) (Docket Nos. 31 and 32);




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Deckers Outdoor Corp. v. Does 1-101, No. 1:11-cv-07970 (N.D. Ill. May 17, 2012)

(unpublished) (Docket No. 67).



                                        CONCLUSION

       Crazy Aaron Enterprises respectfully requests that the Court enter default and default

judgment against each Defendant, award statutory damages as authorized by 15 U.S.C. §

1117(c)(1) for willful trademark counterfeiting against each of the Defendants in the amount of

$1,000,000 per Defendant and enter a permanent injunction prohibiting Defendants from selling

Counterfeit Crazy Aaron Enterprises Products, and that all assets in Defendants’ Amazon, eBay,

PayPal, Wish, Payoneer, WorldFirst, Bill.com, Western Union, MoneyGram, or other bank

accounts, as well as any newly discovered assets, be transferred to Crazy Aaron Enterprises.

       Dated this 10th Day of June, 2019.

                                            Respectfully submitted,



                                            By:       s/David Gulbransen/
                                                    David Gulbransen
                                                    Attorney for Plaintiff

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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2019, the PLAINTIFF’S MOTION FOR ENTRY OF

DEFAULT AND DEFAULT JUDGMENT and MEMORANDUM IN SUPPORT OF

PLAINTIFF’S MOTION FOR ENTRY OF MOTION FOR ENTRY OF DEFAULT AND

DEFAULT JUDGMENT was filed with the CM/ECF system. The Defendant’s will also be

provided notice on June 10, 2019, via e-mail to the e-mail addresses the address supplied by the

Defendants to their respective webstore hosts and via their webstores per the terms of the TRO.




                                             By:      s/David Gulbransen/
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